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Advocates & Litigators

TIMOTHY B. FLEMING
OF COUNSEL                                          February 28, 2023

        Via ECF only
        The Honorable Sarah Netburn
        United States Magistrate Judge
        UNITED STATES DISTRICT COURT FOR THE
        SOUTHERN DISTRICT OF NEW YORK
        Thurgood Marshall U.S. Courthouse
        40 Foley Square
        New York, New York 10007

        Re:          In Re Terrorist Attacks on Sept. 11, 2001, 03-MDL-1570 (GBD)(SN)
                     Ashton, et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
                     Bauer, et al. v. al Qaeda Islamic Army, et al., 02-cv-07236 (GBD)(SN)
                     Ryan, et al. v. Islamic Republic of Iran, et al., 20-cv-00266 (GBD)(SN)
                     Ashton, et al. v. Kingdom of Saudi Arabia, 17-cv-2003 (GBD)(SN)

                     Letter re: Court’s Order of December 12, 2022 Order, MDL Doc. No. 8796

        Dear Magistrate Judge Netburn:

        We submit this Letter in compliance with the Court’s order of December 12, 2022, to submit lists
        of parties and docket entries to assist the Court in completing the severance of the claims of four
        certain plaintiffs of the Maher family from Bauer, et al. v. al Qaeda Islamic Army, et al., 02-cv-
        07236 and Ashton, et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 for placement of such
        claims into new cases to be created upon severance from Bauer/Ashton as well as transferring
        existing judgments against Iran into the existing Ryan, et al. v. Islamic Republic of Iran, et al.,
        20-cv-00266 case.

        The four Bauer/Ashton plaintiffs are: Katherine Maher, as personal representative of the Estate
        of Daniel L. Maher, and individually in her own right, and Daniel R. Maher and Joseph F. Maher
        (sons of 9/11 Decedent Daniel L. Maher). It should be noted that, as indicated on page 2 of the
        exhibit hereto, the claims of Daniel R. Maher and Joseph F. Maher in Maher, et al. v. Islamic
        Emirate of Afghanistan a/k/a the Taliban, et al., a new case to be created by the Clerk, S.D.N.Y.,
        upon severance, are not to include any claims against three particular named defendants whom
        the other plaintiffs (specifically, Katherine Maher, as personal representative of the Estate of
        Daniel L. Maher, and Katherine Maher, individually in her own right) do assert claims. That is
        because the two Maher sons present their claims against those three parties (the Taliban, al
        Qaeda, and Estate of Osama bin Laden) in Grazioso, et al. v. Taliban, et al., 22-cv-1188.

        This Letter supersedes our prior submission on this subject because the present lists include
        corrections regarding Defendants, and a few pleadings, from the lists we filed at MDL ECF No.

                                                                                                              BIRMINGHAM, AL
                                                                                                                  DELAND, FL
                                                                                                                NASHVILLE, TN
                                                                                                            WASHINGTON, D.C.
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8847-1. The corrected lists are filed herewith. We received helpful inputs from a number of
counsel for other parties in this MDL.

As we noted in our previous submission at MDL ECF No. 8847, the Ryan family will be
henceforth represented by John Schutty, Esq. The request for formal substitution of counsel, at
MDL Doc. No. 8836, remains pending. We address herein only the claims of the Maher family,
who we continue to represent.

Because this Letter supersedes our letter filed at MDL ECF No. 8847, we repeat herein the basis
for this filing.

In the November 18, 2022 hearing, the Court asked the parties whether there was any problem
with severing the claims of the involved plaintiffs nunc pro tunc and transferring them into new
cases to be created upon severance and transferring necessary underlying and pending docket
entries into the new cases and, in regard to Iran, the existing judgments into the existing Ryan
case. The undersigned counsel and the Baumeister firm agreed in open court to this resolution of
the matter. We understood the Court’s order of December 12, 2022, was designed to facilitate
that resolution. We undertook to review the status of the hundreds of defendants and two
decades of docket entries in order to create the lists.

If we understand the Court’s Order correctly, we have designated on the attached lists the docket
entries of pending matters from the Bauer docket and the Ashton docket; we have not listed items
that are no longer pending, but we do list orders with continuing application. Nor do we list all
applicable items from the MDL docket because Your Honor’s order did not call for it. We
recognize that numerous MDL docket entries, e.g., the Case Management Orders at MDL ECF
16, 247, and 248, do and will apply to the new cases. In our lists, there are some exceptions,
particularly as to the Sudan cases, such as MDL ECF 6429 and 6537, pertaining to pleadings we
did not find on the Ashton docket. The notations regarding the docket entries are either taken
from the docket, in whole or in part, or are short summaries.

Given the number of defendants and the length of the dockets, we recognize it is possible that we
missed some docket entries; if we do find others, we will file a letter motion for transfer of any
such entries.

The Baumeister firm has reviewed this letter and does not oppose it.

Accordingly, we limit our submission of the lists requested by the Court to pending matters and
orders pertaining to the Maher family: Katherine Maher, as personal representative of the Estate
of Daniel L. Maher, and individually in her own right, and Daniel R. Maher and Joseph F. Maher
(sons of 9/11 Decedent Daniel L. Maher).

                                             Respectfully Submitted,

                                               /s/ Timothy B. Fleming
                                             Timothy B. Fleming (DC Bar No. 351114)
                                             WIGGINS CHILDS PANTAZIS
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                                  Maher, Deceased, Katherine Maher, individually in
                                  her own right, Daniel R. Maher, and Joseph F.
                                  Maher
